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 4                        UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                           ***
 7
                                                  )
 8   UNITED STATES OF AMERICA,                    )       2:12-CR-00063-PMP-CWH
                                                  )
 9                       Plaintiff,               )              ORDER
                                                  )
10         vs.                                    )
                                                  )
11   LELAND JONES, ROSS HACK and                  )
     MELISSA HACK,                                )
12                                                )
                         Defendants.              )
13

14         On March 21, 2013, Defendant Leland Jones filed a document titled “Motion to
15   Join as Co-Counsel” (Doc. #109) and a document titled “Demand for Production”
16   (Doc. #110).
17         Defendant Leland Jones is represented by counsel. As a result, he may not file
18   motions, pro se, without leave of the Court. The Court finds no good cause presented
19   herein and directs that Defendant Leland Jones consult with his counsel regarding any
20   future motions which he thinks should be filed in this case, including the motions
21   described above. For the foregoing reasons, and good cause appearing,
22         IT IS ORDERED Defendant Leland Jones’ pro se Motion to Join as Co-
23   Counsel (Doc. #109) and Demand for Production (Doc. #110) are hereby STRICKEN.
24   Dated: March 25, 2013.
25

26
                                                      PHILIP M. PRO
                                                      United States District Judge
